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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     10/21/2020


LUIS GUAMAN ZHININ, et al.,

                                            Plaintiffs,                   18-CV-03102 (SN)

                          -against-                                    RULE 54 JUDGMENT

HYO DONG GAK, INC., et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

        On October 7, 2019, a settlement agreement in this case was approved, and the case was

subsequently closed. On May 27, 2020, the Court reopened the case after the defendants failed to

make the final two payments of their agreed-upon settlement to the plaintiffs, totaling $26,400.

In the intervening months the defendants have failed to make several appearances, and

additionally have failed to comply with Court orders which directed the parties to file a new

settlement timeline with the Court no later than October 16, 2020. ECF Nos. 54, 55, 60, 62.

        Given that there is no controversy as to the remaining amount the defendants owe to the

plaintiffs, and that the defendants continue to disregard the Court’s orders, the Court believes

that further proceedings in this case would be fruitless. Accordingly, judgment is ordered against

all defendants, joint and several, for the balance of the defaulted settlement in the amount of

$26,400, to be paid to the plaintiffs immediately.

SO ORDERED.



DATED:           New York, New York
                 October 21, 2020
